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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re:                                                       )   Chapter 11
                                                                 )
    MEDLY HEALTH INC., et al.,1                                  )   Case No. 22-11257 (KBO)
                                                                 )
                                 Debtors.                        )   (Jointly Administered)
                                                                 )
                                                                 )   Ref. Docket Nos. 542-543

                                      CERTIFICATE OF SERVICE

I, DAVID MEJIA, hereby certify:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, located at 777
   Third Avenue, New York, New York 10017. I am over the age of eighteen years and am not
   a party to the above-captioned action.

2. On April 3, 2023, I caused to be served the:

      a. “First Quarterly Application for Compensation and Reimbursement of Expenses of
         Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession,
         for the Period From December 9, 2022 Through February 28, 2023,” dated April 3, 2023
         [Docket No. 542], (the “1st PSZJ Fee Application”),

      b. “Notice of First Quarterly Application for Compensation and Reimbursement of
         Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors and Debtors
         in Possession, for the Period From December 9, 2022 Through February 28, 2023,” dated
         April 3, 2023, related to Docket No. 542, a copy of which is annexed hereto as Exhibit A,
         (the “PSZJ Notice”), and




1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Medly Health
Inc. (3391); Care Well Pharmacy, Inc. (9048); Grubbs Care Pharmacy NW Inc. (0490); Marg Pharmacy, Inc. (5838);
Medly Atlanta Inc. (7312); Medly Baltimore Inc. (2354); Medly Bedford Ave Pharmacy Inc. (3690); Medly Bristol
Inc. (4556); Medly Bronx Inc. (4741); Medly Chicago Inc. (5231); Medly Dallas Inc. (7581); Medly DC Inc. (9403);
Medly Enterprise LLC (8898); Medly Grand Central Inc. (1741); Medly Houston Inc. (7443); Medly Jersey City Inc.
(5677); Medly Mail Service Pharmacy LLC (9203); Medly Miami Inc. (8101); Medly Orlando Inc. (7581); Medly
Pharmacy Inc. (4606); Medly Pharmacy PA Inc. (8494); Medly Pittsburgh Inc. (8381); Medly Queens Inc. (9623);
Medly Raleigh Inc. (5140); Medly San Antonio Inc. (9973); Medly Stamford Inc. (4966); Medly Tampa Inc. (5128);
Medly UCHC Pharmacy Inc. (6672); Medly Utah Inc. (4648); Pharmaca Integrative Pharmacy, Inc. (0334);
Tango340B LLC (4781); West Campbell Pharmacy Inc. (2931); Khora Health Solutions Inc. (2909); and RPH
Innovations LLC (3767). The Debtors’ business address is 7088 Winchester Circle, Suite 100, Boulder CO 80301.
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   c. “Fourth Monthly Application for Compensation and Reimbursement of Expenses of
      Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in
      Possession, for the Period From March 1, 2023 Through March 31, 2023,” dated April 3,
      2023 [Docket No. 543], (the “4th PSZJ Fee Application”),

by causing true and correct copies of the:

       i. PSZJ Notice to be enclosed securely in separate postage pre-paid envelopes and
          delivered via first class mail to those parties listed on the annexed Exhibit B,

      ii. 1st PSZJ Fee App and 4th PSZJ Fee App to be enclosed securely in separate postage
          pre-paid envelopes and delivered via first class mail to those parties listed on the
          annexed Exhibit C, and

     iii. PSZJ Notice to be delivered via electronic mail to those parties listed on the annexed
          Exhibit D.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                    /s/ David Mejia
                                                                    David Mejia
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                    EXHIBIT A
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                             THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

    In re:                                              )    Chapter 11
                                                        )
    MEDLY HEALTH INC., et al.,1                         )    Case No. 22-11257 (KBO)
                                                        )
                                                        )    (Jointly Administered)
                       Debtors.                         )
                                                              Objection Deadline: April 18, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: April 25, 2023 at 3:00 p.m. (ET)


    NOTICE OF FIRST QUARTERLY APPLICATION FOR COMPENSATION AND
     REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES
    LLP, AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR
      THE PERIOD FROM DECEMBER 9, 2022 THROUGH FEBRUARY 28, 2023

                  PLEASE TAKE NOTICE that Pachulski Stang Ziehl & Jones LLP (“PSZ&J”),

as counsel for the debtors and debtors in possession (the “Debtors”), in the above-captioned case,

has filed the First Quarterly Application for Compensation and Reimbursement of Expenses of

Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession, for

the Period From December 9, 2022 Through February 28, 2023 (the “Application”) seeking fees

in the amount of $2,237,555.00 and reimbursement of actual and necessary expenses in the

amount of $78,834.52 for the period from December 9, 2022 through February 28, 2023.

                  PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for


1 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Medly Health
Inc. (3391); Care Well Pharmacy, Inc. (9048); Grubbs Care Pharmacy NW Inc. (0490); Marg Pharmacy, Inc. (5838);
Medly Atlanta Inc. (7312); Medly Baltimore Inc. (2354); Medly Bedford Ave Pharmacy Inc. (3690); Medly Bristol
Inc. (4556); Medly Bronx Inc. (4741); Medly Chicago Inc. (5231); Medly Dallas Inc. (7581); Medly DC Inc. (9403);
Medly Enterprise LLC (8898); Medly Grand Central Inc. (1741); Medly Houston Inc. (7443); Medly Jersey City Inc.
(5677); Medly Mail Service Pharmacy LLC (9203); Medly Miami Inc. (8101); Medly Orlando Inc. (7581); Medly
Pharmacy Inc. (4606); Medly Pharmacy PA Inc. (8494); Medly Pittsburgh Inc. (8381); Medly Queens Inc. (9623);
Medly Raleigh Inc. (5140); Medly San Antonio Inc. (9973); Medly Stamford Inc. (4966); Medly Tampa Inc. (5128);
Medly UCHC Pharmacy Inc. (6672); Medly Utah Inc. (4648); Pharmaca Integrative Pharmacy, Inc. (0334);
Tango340B LLC (4781); West Campbell Pharmacy Inc. (2931); Khora Health Solutions Inc. (2909); and RPH
Innovations LLC (3767). The Debtors’ business address is 7088 Winchester Circle, Suite 100, Boulder CO 80301.


DOCS_DE:242508.4 56185/001
                                                                                             Filed: 4/3/23
                                                                                             Docket No. 542
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the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor,

Wilmington, Delaware 19801, on or before April 18, 2023 at 4:00 p.m. prevailing Eastern

Time.

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the objection or response, if any, upon the following: (1) counsel for the Debtors,

Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE

19801, Attn: Laura Davis Jones, Esquire (ljones@pszjlaw.com); (2) counsel to the DIP Lenders,

McDermott Will & Emery LLP, One Vanderbilt Avenue, New York, NY 10017, Attn: Darren

Azman, Esquire (dazman@mwe.com) and Riley T. Orloff, Esquire (rorloff@mwe.com); (3)

counsel to Silicon Valley Bank, Morrison & Foerster LLP, 200 Clarendon Street, Floor 21,

Boston, MA 02116, Attn: Alexander G. Rheaume, Esquire (ARheaume@mofo.com) and 250

West 55th Street, Floor 20, New York, NY 10019, Attn: Seth J. Kleinman, Esquire

(SKleinman@mofo.com) and Miranda Russell, Esquire (MRussell@mofo.com); (4) the Office

of the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware, 19801,

Attn: Linda Casey, Esquire (linda.casey@usdoj.gov); and (5) counsel to the Official Committee

of Unsecured Creditors, Porzio, Bromberg & Newman P.C., 300 Delaware Avenue, Suite 1220,

Wilmington, DE 19801, Attn: Warren J. Martin, Jr., Esquire (wjmartin@pbnlaw.com), Robert

M. Schechter, Esquire (rmschechter@pbnlaw.com), and Kelly D. Curtin, Esquire

(kdcurtin@pbnlaw.com).

                 PLEASE TAKE FURTHER NOTICE that on January 6, 2023, the Bankruptcy

Court entered the Order Establishing Procedures for Interim Compensation and Reimbursement

of Expenses of Professionals (the “Order”) [Docket No. 192].




                                                 2
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                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON APRIL 25, 2023 AT

3:00 P.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE KAREN B.

OWENS, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE BANKRUPTCY

COURT



Dated: April 3, 2023               PACHULSKI STANG ZIEHL & JONES LLP


                                   /s/ Laura Davis Jones________________________
                                   Laura Davis Jones (DE Bar No. 2436)
                                   David M. Bertenthal (CA Bar No. 167624)
                                   Timothy P. Cairns (Bar No. 4228)
                                   919 North Market Street, 17th Floor
                                   P.O. Box 8705
                                   Wilmington, Delaware 19899 (Courier 19801)
                                   Telephone: (302) 652-4100
                                   Facsimile: (302) 652-4400
                                   Email: ljones@pszjlaw.com
                                           dbertenthal@pszjlaw.com
                                           tcairns@pszjlaw.com

                                   Counsel to the Debtors and Debtors in Possession




                                             3
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                    EXHIBIT B
                                                    Medly Health
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                                                    Service List
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Claim Name                               Address Information
STATE OF ALABAMA ATTORNEY GENERAL        ATTN STEVE MARSHALL PO BOX 300152 MONTGOMERY AL 36130-0152
STATE OF FLORIDA ATTORNEY GENERAL        ATTN ASHLEY MOODY PL 01 THE CAPITOL TALLAHASSEE FL 32399-1050
STATE OF ILLINOIS ATTORNEY GENERAL       ATTN KWAME RAOUL 100 W RANDOLPH ST CHICAGO IL 60601
STATE OF INDIANA ATTORNEY GENERAL        ATTN TODD ROKITA INDIANA GOVERNMENT CENTER SOUTH 302 W WASHINGTON ST, 5TH FL
                                         INDIANAPOLIS IN 46204
STATE OF IOWA ATTORNEY GENERAL           ATTN TOM MILLER HOOVER STATE OFFICE BUILDING 1305 E WALNUT ST DES MOINES IA
                                         50319
STATE OF KENTUCKY ATTORNEY GENERAL       ATTN DANIEL CAMERON 700 CAPITOL AVE, STE 118 FRANKFORT KY 40601-3449
STATE OF MAINE ATTORNEY GENERAL          ATTN AARON FREY 6 STATE HOUSE STATION AUGUSTA ME 04333
STATE OF MINNESOTA ATTORNEY GENERAL      ATTN KEITH ELLISON 445 MINNESOTA ST, STE 1400 ST. PAUL MN 55101-2131
STATE OF NEVADA ATTORNEY GENERAL         ATTN AARON D FORD 100 N CARSON ST CARSON CITY NV 89701
STATE OF NEW JERSEY ATTORNEY GENERAL     ATTN MATTHEW J PLATKIN RJ HUGHES JUSTICE COMPLEX 25 MARKET ST - PO BOX 080
                                         TRENTON NJ 08625-0080
STATE OF NEW MEXICO ATTORNEY GENERAL     ATTN HECTOR BALDERAS 408 GALISTEO ST VILLAGRA BLDG SANTA FE NM 87501
STATE OF NORTH CAROLINA ATTORNEY         ATTN JOSH STEIN PO BOX 629 RALEIGH NC 27602-0629
GENERAL
STATE OF NORTH CAROLINA ATTORNEY         ATTN JOSH STEIN 9001 MAIL SERVICE CTR RALEIGH NC 27699-9001
GENERAL
STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN JOSH SHAPIRO 16TH FL, STRAWBERRY SQ HARRISBURG PA 17120
STATE OF SOUTH CAROLINA ATTORNEY         ATTN ALAN WILSON REMBERT C DENNIS OFFICE BLDG 1000 ASSEMBLY ST, ROOM 519
GENERAL                                  COLUMBIA SC 29201
STATE OF SOUTH CAROLINA ATTORNEY         ATTN ALAN WILSON PO BOX 11549 COLUMBIA SC 29211-1549
GENERAL
STATE OF SOUTH DAKOTA ATTORNEY GENERAL   ATTN MARK VARGO 1302 EAST HIGHWAY 14, STE 1 PIERRE SD 57501-8501
STATE OF TENNESSEE ATTORNEY GENERAL      ATTN JONATHAN SKRMETTI PO BOX 20207 NASHVILLE TN 37202-0207
STATE OF TEXAS ATTORNEY GENERAL          ATTN KEN PAXTON 300 W 15TH ST AUSTIN TX 78701
STATE OF TEXAS ATTORNEY GENERAL          ATTN KEN PAXTON PO BOX 12548 AUSTIN TX 78711-2548
STATE OF VIRGINIA ATTORNEY GENERAL       ATTN JASON MIYARES 202 N NINTH ST RICHMOND VA 23219
STATE OF WASHINGTON ATTORNEY GENERAL     ATTN BOB FERGUSON 1125 WASHINGTON ST SE OLYMPIA WA 98504-0100
STATE OF WASHINGTON ATTORNEY GENERAL     ATTN BOB FERGUSON PO BOX 40100 OLYMPIA WA 98504-0100
STATE OF WEST VIRGINIA ATTORNEY GENERAL ATTN PATRICK MORRISEY STATE CAPITOL COMPLEX BLDG 1, ROOM E-26 CHARLESTON WV
                                        25305
STATE OF WISCONSIN ATTORNEY GENERAL      ATTN JOSH KAUL WISCONSIN DEPARTMENT OF JUSTICE 17 W MAIN ST - PO BOX 7857
                                         MADISON WI 53703-7857
STATE OF WYOMING ATTORNEY GENERAL        ATTN BRIDGET HILL KENDRICK BUILDING 2320 CAPITOL AVE CHEYENNE WY 82002




                                  Total Creditor count 26




Epiq Corporate Restructuring, LLC                                                                           Page 1 OF 1
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                                 MEDLY HEALTH INC., et al.
                                  Case No. 22‐11257 (KBO)
                             First Class Mail Addi onal Service

TURNSTONE LAW GROUP PLLC
(COUNSEL TO WALLINGFORD CENTER LLP)
ATTN JASON E WAX
 2033 6TH AVE, STE 600
 SEATTLE, WA 98121
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                    EXHIBIT C
                                                    Medly Health
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                                                    Service List
                                                                                 Page 11 of 14

Claim Name                               Address Information
MCDERMOTT WILL & EMERY LLP               (COUNSEL TO DIP LENDERS) ATTN: DARREN AZMAN & RILEY T. ORLOFF ONE VANDERBILT
                                         AVENUE NEW YORK NY 10017-3852
MORRISON & FOERSTER LLP                  (COUNSEL TO SILICON VALLEY BANK) ATTN: SETH J. KLEINMAN & MIRANDA RUSSELL 250
                                         WEST 55TH ST, FLOOR 20 NEW YORK NY 10019
MORRISON & FOERSTER LLP                  (COUNSEL TO SILICON VALLEY BANK) ATTN: ALEXANDER G. RHEAUME 200 CLARENDON ST,
                                         FLOOR 21 BOSTON MA 02116
OFFICE OF THE UNITED STATES TRUSTEE      ATTN: LINDA CASEY 844 KING STREET SUITE 2207, LOCKBOX 35 WILMINGTON DE 19801
PACHULSKI STANG ZIEHL & JONES LLP        (COUNSEL TO DEBTORS) ATTN: LAURA DAVIS JONES 919 N. MARKET ST, 17TH FLOOR
                                         WILMINGTON DE 19801
PORZIO, BROMBERG & NEWMAN, P.C.          (COUNSEL TO COMMITTEE) ATN: W.J. MARTIN, JR., R.M. SCHECHTER, K.D. CURTIN; 300
                                         DELAWARE AVE, STE 1220 WILMINGTON DE 19801




                                  Total Creditor count 6




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                                          CASE NO. 22-11257
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                                         ATTN: SCOTT A ZUBER & TERRY JANE szuber@csglaw.com;
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DEPARTMENT OF REVENUE                    ATTN: ALLISON L. CARR                acarr@attorneygeneral.gov

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KASEN & KASEN, P.C.                      ATTN JENNY R KASEN                   jkasen@kasenlaw.com

                                         ATTN: RAFAEL X. ZAHRALDDIN &         Rafael.Zahralddin@lewisbrisbois.com
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MCDERMOTT WILL & EMERY LLP               ATTN RILEY ORLOFF                    rorloff@mwe.com
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                                         MEDLY HEALTH INC.
                                          CASE NO. 22-11257
                                         Core-Top 30 Email List


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STATE OF MASSACHUSETTS ATTORNEY
GENERAL                                  ATTN: MAURA HEALEY                ago@state.ma.us
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STATE OF MONTANA ATTORNEY GENERAL        ATTN: AUSTIN KNUDSEN              contactdoj@mt.gov
STATE OF NEBRASKA ATTORNEY GENERAL       ATTN: DOUG PETERSON               ago.info.help@nebraska.gov

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STATE OF NEW YORK ATTORNEY GENERAL      ATTN: LETITIA A. JAMES             nyag.pressoffice@ag.ny.gov

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STATE OF OHIO                            ATTN: ROBERT L. DOTY              robert.doty@ohioago.gov
STATE OF OKLAHOMA ATTORNEY GENERAL       ATTN: JOHN OCONNOR                questions@oag.ok.gov
STATE OF OREGON ATTORNEY GENERAL         ATTN: ELLEN F. ROSENBLUM          attorneygeneral@doj.state.or.us

STATE OF RHODE ISLAND ATTORNEY GENERAL   ATTN: PETER F. NERONHA            ag@riag.ri.gov
STATE OF UTAH ATTORNEY GENERAL           ATTN: SEAN D. REYES               uag@agutah.gov
STATE OF VERMONT ATTORNEY GENERAL        ATTN: SUSANNE R. YOUNG            ago.info@vermont.gov
                                                                           jlabe@triplepointcapital.com;
TRIPLEPOINT VENTURE                      ATTN JIM LABE, IAN SCHWORER &     ischworer@triplepointcapital.com;
GROWTH BDC CORP                          MICHAEL STANDLEE                  mstandlee@triplepointcapital.com
TURNSTONE LAW GROUP PLLC                 ATTN: JASON E. WAX                jason@turnstonelawgroup.com
                                         ATTN: ANDREW L. MAGAZINER         amagaziner@ycst.com;
YOUNG CONAWAY STARGATT & TAYLOR, LLP     & S. ALEXANDER FARIS              afaris@ycst.com




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